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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )       8:08CR135
       vs.                                          )
                                                    )       PRELIMINARY ORDER
ROBERT MORRIS,                                      )       OF FORFEITURE
                                                    )
                      Defendant.                    )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 73). The Court reviews the record in this case

and, being duly advised in the premises, finds as follows:

       1.      The Defendant has entered into a plea agreement, whereby he has agreed

to plead guilty to Counts I (conspiracy), IV (felon in possession of a firearm and

ammunition), V (forfeiture of firearm relating to Count IV) and VI (forfeiture of $1,171.00

relating to Count III) of the Second Superseding Indictment. Under the plea agreement,

Count III of the Second Superseding Indictment is to be dismissed at sentencing. Count

V of the Second Superseding Indictment seeks the forfeiture, pursuant to 18 U.S.C. §

924(d) and 28 U.S.C. § 2461(c), of a Smith and Wesson 9mm pistol, serial no. VCH 5776,

on the basis that it was involved or used in the knowing commission of the offense charged

in Count IV.1 Count VI of the Indictment charges the Defendant with using $1,171.00 in

United States currency to facilitate the commission charge alleged in Count III of the

Superseding Indictment. 2

       1
       The motion for preliminary forfeiture misstates the allegation of Count V and assumes that
Count V relates to the $1,171.00 that is the subject of Count VI.
       2
       The motion for preliminary forfeiture misstates the allegation of Count VI and assumes that
Count VI relates to the firearm that is the subject of Count V.
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       2.     By virtue of said plea of guilty, the Defendant forfeits his interest in the

property described in Count V, and the United States is entitled to possession of said

property, pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

       3.     However, 21 U.S.C. § 853(a) requires that the Defendant be “convicted” of

the charge underlying a forfeiture count. The Defendant did not plead guilty to Count III,

to which Count VI relates. Count III is to be dismissed at sentencing under the plea

agreement. Therefore, the Defendant does not forfeit the property described in Count VI.

       IT IS ORDERED:

       A      The United States' Motion for Issuance of Preliminary Order of Forfeiture

(Filing No. 73) is granted in part and denied in part as follows:

       1.     The motion is granted with respect to the property described in Count V;

       2.     The motion is denied with respect to the property described in Count VI;

       B.     Based upon Count V of the Second Superseding Indictment and the

Defendant's plea of guilty, the United States is hereby authorized to seize the Smith and
Wesson 9mm pistol, serial

no. VCH 5776;

       C.     The Defendant's interest in the property described in Count V of the Second

Superseding Indictment      is hereby forfeited to the United States for disposition in

accordance with the law, subject to the provisions of 21 U.S.C. § 853(n)(1).

       D.     The aforementioned forfeited property is to be held by the United States in

its secure custody and control.

       E.     Pursuant to 21 U.S.C. § 853(n)(1), the United States forthwith shall publish

at least once for three successive weeks in a newspaper of general circulation, in the


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county where the subject property is situated, notice of this Order, Notice of Publication

evidencing the United States’ intent to dispose of the property described in Count V in such

manner as the Attorney General may direct, and notice that any person, other than the

Defendant, having or claiming a legal interest in the subject forfeited property must file a

Petition with the court within thirty days of the final publication of notice or of receipt of

actual notice, whichever is earlier.

       F.      Said published notice shall state the Petition referred to in Paragraph E.,

above, shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest

in the property described in Count V, shall be signed by the Petitioner under penalty of

perjury, and shall set forth the nature and extent of the Petitioner's right, title or interest in

the subject property and any additional facts supporting the Petitioner's claim and the relief

sought.

       G.      The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property subject to this Order

as a substitute for published notice as to those persons so notified.

       H.      Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests relating to Count V will

be addressed.

       DATED this 19th day of August, 2008.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge



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